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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                               SPARTANBURG DIVISION

                                                          )
JANE DOE 1, JANE DOE 2, JOHN DOE 1, AND                   )
JOHN DOE 2,                                               )
                                                          )
                Plaintiffs,                               )         Case No: 7:22-cv-03576-DCC
    v.                                                    )
                                                          )
COLLINS MURPHY, LIMESTONE                                 )
UNIVERSITY, BRENDA F. WATKINS, SHARON                     )
HAMMONDS, MG FREESITES, LTD. d/b/a                        )
PORNHUB.COM,                                              )
                                                          )
                Defendants.                               )
                                                          )


                       PLAINTIFFS’ NOTICE OF SETTLEMENT, AND
                        REQUEST FOR 60 DAYS TO FINALIZE SAME


         Plaintiffs and Defendants Limestone University, Brenda F. Watkins, and Sharon

Hammonds have reached a settlement of the Plaintiffs’ claims in this action against these

Defendants. 1 These parties are in the process of exchanging for purposes of approving and

executing the settlement documents.

         Accordingly, Plaintiff would respectfully request pursuant to Rule 60, that this action is

hereby dismissed without costs and without prejudice. If settlement is not consummated within

sixty (60) days, either party reserves the right to petition the Court to reopen this action and

restore it to the calendar. Rule 60(b)(6), Fed. R. Civ. P. In the alternative, to the extent permitted

by law, the parties would request the right to within sixty (60) days of entry of an order of



1
  As per Docket Entry No. 94, Plaintiffs previously reached a settlement with Defendant
MGFreesites, Ltd., d/b/a pornhub.com. The only remaining claims in the case would be against
Defendant Collins Murphy.
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dismissal without prejudice in this case to petition the Court to enforce their settlement. Fairfax

Countywide Citizens v. Fairfax County, 571 F.2d 1299 (4th Cir. 1978).

       The parties request the Court retain jurisdiction to enforce any settlement agreement

reached between the parties. Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 381- 82 (1994).



                                             Respectfully Submitted,

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                                              ATTORNEYS FOR PLAINTIFFS JANE DOE 1,
                                              JANE DOE 2, JOHN DOE 1 AND JOHN DOE 2

Greenville, South Carolina
April 20, 2024




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